           Case 3:12-cv-02265-SI       Document 417      Filed 05/08/24    Page 1 of 4




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                           UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON


  UNITED STATES OF AMERICA,                         No. 3:12-cv-02265-SI

                         Plaintiff,
      v.                                            JOINT MOTION FOR ORDER SETTING
                                                    AGENDA FOR HEARING ON JOINT
  CITY OF PORTLAND,                                 MOTION TO APPOINT THE
                                                    INDEPENDENT COURT MONITOR AND
                         Defendant.                 INTERIM STATUS CONFERENCE SET
                                                    FOR MAY 15, 2024




Page 1      Joint Motion for Order Setting Agenda
         Case 3:12-cv-02265-SI       Document 417      Filed 05/08/24     Page 2 of 4




       Plaintiff United States of America (USA), Defendant City of Portland (City), Intervenor-

Defendant Portland Police Association (PPA), Enhanced Amicus Curiae Albina Ministerial

Alliance Coalition for Justice and Police Reform (AMAC), and Amicus Curiae Mental Health

Alliance (MHA) jointly propose the following agenda (exclusive of any questions and discussion

the Court may have) for the Hearing on the Joint Motion to Appoint the Independent Court Monitor

and Interim Status Conference set for 9:00 a.m. on Wednesday, May 15, 2024, in Portland, Oregon,

before Judge Michael H. Simon.

      9:00 a.m.      Court’s Introductory Remarks         (10 minutes)

      9:10 a.m.      USA Presentation                     (15 minutes)

      9:25 a.m.      City Presentation                    (15 minutes)

      9:40 a.m.      Compliance Officer Presentation      (15 minutes)

      9:55 a.m.      Proposed Independent Monitor         (15 minutes)
                     Presentation

      10:10 a.m.     PPA Presentation                     (15 minutes)

      10:25 a.m.     AMAC Presentation                    (15 minutes)

      10:40 a.m.     MHA Presentation                     (15 minutes)

      10:55 a.m.     PCCEP Presentation                   (15 minutes)

      11:10 a.m.     Morning Break                        (15 minutes)

                                                          (65 minutes, to be
      11:25 a.m.     Public Comment
                                                          extended if necessary)

      12:30 p.m.     Lunch Break                          (60 minutes)

                                                          (90 minutes, to be
      1:30 p.m.      Public Comment
                                                          extended if necessary)

      3:00 p.m.      Court’s Closing Remarks              (10 minutes)




Page 2     Joint Motion for Order Setting Agenda
         Case 3:12-cv-02265-SI      Document 417       Filed 05/08/24     Page 3 of 4




Respectfully submitted this 8th day of May, 2024.

  FOR THE UNITED STATES:
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                                             Trial Attorney
                                             /s/ Jared D. Hager
                                             JARED D. HAGER
                                             Trial Attorney
                                             /s/ Amy Senier
                                             AMY SENIER
                                             Trial Attorney


  FOR THE CITY OF PORTLAND:
  /s/ Robert Taylor                          /s/ Heidi Brown
  ROBERT TAYLOR                              HEIDI BROWN
  City Attorney                              Chief Deputy City Attorney
  /s/ Lisa Rogers                            /s/ Sarah Ames
  LISA ROGERS                                SARAH AMES
  Deputy City Attorney                       Deputy City Attorney




Page 3    Joint Motion for Order Setting Agenda
         Case 3:12-cv-02265-SI   Document 417   Filed 05/08/24   Page 4 of 4




 FOR THE PORTLAND POLICE ASSOCIATION:
  /s/ Anil Karia
  ANIL KARIA
  Attorney for PPA



 FOR THE ALBINA MINISTERIAL ALLIANCE COALITION FOR JUSTICE AND
 POLICE REFORM:
  /s/ J. Ashlee Albies                 /s/ Kristen Chambers
  J. ASHLEE ALBIES                     KRISTEN CHAMBERS
  Attorney for AMAC                    Attorney for AMAC



 FOR THE MENTAL HEALTH ALLIANCE:
  /s/ Juan Chavez                      /s/ Franz Bruggemeier
  JUAN CHAVEZ                          FRANZ BRUGGEMEIER
  Attorney for MHA                      Attorney for MHA
  /s/ Amanda Lamb
  AMANDA LAMB
  Attorney for MHA




Page 4    Joint Motion for Order Setting Agenda
